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                                                                              FILED
                  IN THE UNITED STATES DISTRICT COURT
                                                                               JAN 1 9 2018
                      FOR THE DISTRICT OF MONTANA
                                                                          Clerk, U S District Court
                            BILLINGS DIVISION                               District Of Montana
                                                                                   Billings




  UNITED STATES OF AMERICA,
                                                   CR 16-103-BLG-SPW-02
                      Plaintiff,

  vs.                                               ORDER

  FRANCINE JOANN GRANADOS,

                      Defendant.

        Defendant Francine Joann Granados, by and through counsel, has moved the

Court pursuant to 18 U.S.C § 4285 for and Order directing the United States

Marshal's Service to reimburse the Defendant for travel costs associated with the

jury trial in this matter (Doc. 245) scheduled for Monday, January 29, 2018, on

the grounds that she is financially unable to travel from her home state of

Minnesota to the District of Montana. The Court has reviewed Defendant's

Financial Affidavit and finds the Defendant is financially unable to provide the

necessary transportation to appear before this Court on her own and the interests of

justice will be served by granting Defendant's motion. Therefore,

        IT IS HEREBY ORDERED, pursuant to 18 U.S.C. § 4285, that the United

States Marshal Service furnish transportation from Glyndon, Minnesota to Billings

Montana for the jury trial in this matter scheduled for January 29, 2018, and for


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an amount of money for lodging and subsistence expenses during her stay in

Billings, Montana for the trial in an amount not to exceed the per diem allowance

for travel under 5 U.S.C. § 5702(a).

      DATED t h i s ~ of January, 2018~;/

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                                             SUSANP. WATTERS
                                             United States District Judge




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